                IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF IOWA
                          WESTERN DIVISION

UNITED STATES OF AMERICA,
             Plaintiff,                          No. 05-CR-4106-DEO
vs.                                        ORDER REGARDING REPORT AND
                                            RECOMMENDATION CONCERNING
SALVADOR ESQUEDA,
                                                   GUILTY PLEA
             Defendant.
                              ____________________

                   I.    INTRODUCTION AND BACKGROUND

      On October 12, 2005, a two Count Indictment (Docket No.

1,    10/12/2005)       was    returned    against      defendant       Salvador

Esqueda.

      Count 1 of that Indictment charges that the defendant,

Salvador Esqueda, between about August 1, 2005, and continuing

through October 3, 2005, in the Northern District of Iowa and

elsewhere, did knowingly and unlawfully combine, conspire,

confederate, and agree with each other and with other persons,

known and unknown to the Grand Jury, to distribute 500 grams

or more of a mixture or substance containing a detectable

amount of methamphetamine, a Schedule II controlled substance,

in    violation    of    Title     21,    United    States     Code,     Section

841(a)(1) and 841(b)(1)(A).              This was in violation of Title

21, United States Code, Section 846.



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    Count 2 of that Indictment charges that on or about

October   3,   2005,    in   the    Northern         District     of    Iowa,        the

defendant, Salvador Esqueda, did knowingly and intentionally

possess with intent to distribute 500 grams or more of a

mixture   or   substance     containing          a    detectable        amount        of

methamphetamine, a Schedule II controlled substance.

    This was in violation of Title 21, United States Code,

Sections 841(a)(1) and 841(b)(1)(A).

    On March 30, 2006, defendant Salvador Esqueda appeared

before United States Magistrate Judge Paul A. Zoss and entered

a plea of guilty to Counts 1 and 2 of the Indictment.                        On the

same date, United States Magistrate Judge Zoss filed a Report

and Recommendation (Docket No. 70, 03/30/2006) in which he

recommends that defendant Salvador Esqueda’s guilty plea be

accepted.      No      objections      to   Judge         Zoss’s       Report        and

Recommendation were filed.           The Court, therefore, undertakes

the necessary review of Judge Zoss’s recommendation to accept

defendant Salvador Esqueda’s plea in this case.

                             II.      ANALYSIS

                        A.   Standard of Review

    Pursuant to statue, this Court’s standard of review for


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a magistrate judge’s Report and Recommendation is as follows:

          A judge of the court shall make a de novo
          determination of those portions of the
          report or specified proposed findings or
          recommendations to which objection is made.
          A judge of the court may accept, reject, or
          modify, in whole or in part, the findings
          or recommendations made by the magistrate
          [judge].

28 U.S.C. § 636(b)(1).          Similarly, Federal Rule of Civil

Procedure 72(b) provides for review of a magistrate judge’s

Report and Recommendation on dispositive motions and prisoner

petitions, where objections are made as follows:

          The district judge to whom the case is
          assigned shall make a de novo determination
          upon the record, or after additional
          evidence, of any portion of the magistrate
          judge’s disposition to which specific
          written   objection   has   been   made  in
          accordance with this rule.     The district
          judge may accept, reject, or modify the
          recommendation decision, receive further
          evidence, or recommit the matter to the
          magistrate judge with instructions.

FED. R. CIV. P. 72(b).

    In this case, no objections have been filed, and it

appears to the Court upon review of Judge Zoss’s findings and

conclusions that there are no grounds to reject or modify

them.   Therefore, the Court accepts Judge Zoss’s Report and

Recommendation (Docket No. 70), and accepts defendant’s plea

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of guilty in this case to Counts 1 and 2 of the Indictment

filed on October 12, 2005.

    IT IS SO ORDERED this 30th day of May, 2006.


                                  __________________________________
                                  Donald E. O’Brien, Senior Judge
                                  United States District Court
                                  Northern District of Iowa




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